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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

DOMINIQUE JEWETT, AND ALL                               §
OTHERS SIMILARLY SITUATED                               §
UNDER 29 USC 216(B),                                    §
                                                        §
        Plaintiff                                       §            NO. CIVIL ACTION NO. 3:16-
                                                        §            CV-01068-L
vs.                                                     §
                                                        §
SUPERIOR HEALTHPLAN, INC. &                             §
CENTENE COMPANY OF TEXAS, L.P.,                         §
                                                        §
        Defendants.
                                                        §
                                                        §
                                                        §


    DEFENDANTS’ ORIGINAL ANSWER TO PLAINTIFF’S ORIGINAL COMPLAINT


        Defendants 1 Superior Healthplan, Inc. and Centene Company of Texas, L.P. (hereinafter

collectively “Defendants”) hereby file their Original Answer to Plaintiff’s Original Complaint

(“Complaint”). Answers to each paragraph of the Complaint are made without waiving, but

expressly reserving, all rights that Defendants may have to seek relief by appropriate motions

directed to the allegations of the Complaint. Defendants respond to the Complaint as follows:

        Pursuant to the requisites of the Federal Rules of Civil Procedure, Defendants submit

their answer and responses to the allegations of Plaintiff’s Complaint in numbered paragraph

order as delineated in the text. Unless specifically admitted herein, the allegations contained in

Plaintiff’s Complaint are denied.




1
 Plaintiff has improperly named Superior Healthplan, Inc. as her employer and a Defendant in this case. Superior
Healthplan, Inc. denies it was Plaintiff’s employer.


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                                      I.     SUMMARY

       1.      Answering Section I, Paragraph 1 of the Complaint, to the extent that an answer is

required to the statements therein, Defendants admit only that Plaintiff Dominique Jewett was

employed by Centene Company of Texas, L.P. as a Service Coordinator and that she purports to

assert a collective action pursuant to the Fair Labor Standards Act (“FLSA”). Defendants deny

the remaining allegations contained in Section I, Paragraph 1 of the Complaint.

                                       II.     PARTIES

       1.      Answering Section II, Paragraph 1 of the Complaint, Defendants state that they

lack knowledge or information sufficient to form a belief as to the truth of the allegations

regarding Plaintiff Dominique Jewett’s current residence and consequently deny the same. The

remaining allegations constitute legal conclusions and purported definitions that require neither

an admission nor a denial.

       2.      Answering Section II, Paragraph 2 of the Complaint, Defendants admit Plaintiff

Dominique Jewett was employed by Centene Company of Texas, L.P. as a Service Coordinator.

Defendants further admit that Plaintiff purports to define a proposed class, but deny that the

proposed class is properly or adequately defined. Defendants deny all remaining allegations

contained in Section II, Paragraph 2 of the Complaint.

       3.      Answering Section II, Paragraph 3 of the Complaint, Defendants admit Defendant

Superior Healthplan, Inc. is a Texas corporation that has appointed C T Corporation System,

1999 Bryan Street, Ste. 900, Dallas, TX 75201-3136 as its agent for service of process.

       4.      Answering Section II, Paragraph 4 of the Complaint, Defendants admit Centene

Company of Texas, L.P. (“CTX”) is a Texas Limited Partnership that has appointed C T




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Corporation System, 1999 Bryan Street, Ste. 900, Dallas, TX 75201-3136 as its agent for service

of process.

       5.      Answering Section II, Paragraph 5 of the Complaint, Defendants admit Superior

and CTX are subsidiaries of Centene Corporation.           Centene Corporation is a multi-line

healthcare enterprise that provides programs and related services to a number of under-insured

and uninsured individuals. Some of its subsidiaries, including Defendants, are companies that

operate government sponsored health insurance plans. Except as specifically admitted,

Defendants deny all other allegations contained in Section II, Paragraph 5.

                            III.    JURISDICTION AND VENUE

       6.      Answering Section III, Paragraph 6 of the Complaint, Defendants state that

Section III, Paragraph 6 contains legal conclusions to which no response is required. To the

extent a response is required, Defendants do not dispute the jurisdiction of this Court. Defendants

deny that they have violated or are violating the FLSA.

       7.      Answering Section III, Paragraph 7 of the Complaint, Defendants lack sufficient

knowledge or information to form a belief as to the truth of the allegation regarding whether “the

events forming the basis of the suit occurred in this District,” and therefore deny the same.

Defendants state that they lack knowledge or information sufficient to form a belief as to the

truth of the allegations regarding Plaintiff Dominique Jewett’s current residence and

consequently deny the same. The remaining allegations in Section III, Paragraph 7 call for legal

conclusions to which no response is required. To the extent a response is required, Defendants do

not dispute that venue is proper in the Northern District of Texas.




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                                      IV.       COVERAGE

       8.      Answering Section IV, Paragraph 8 of the Complaint, Defendants state that the

allegations in Section IV, Paragraph 8 constitute legal conclusions and purported definitions that

require neither an admission nor denial. Defendants lack sufficient knowledge or information to

form a belief as to what Plaintiff means by the phrase “[a]t all material times, Defendants have

acted, directly or indirectly, in the interest of an employer or joint employer” and on that basis

deny the allegations contained in Section IV, Paragraph 8 of the Complaint.

       9.      Answering Section IV, Paragraph 9 of the Complaint, Defendants state that the

allegations in Section IV, Paragraph 9 constitute legal conclusions and purported definitions that

require neither an admission nor denial.

       10.     Answering Section IV, Paragraph 10 of the Complaint, Defendants state that the

allegations in Section IV, Paragraph 10 constitute legal conclusions and purported definitions

that require neither an admission nor denial.

       11.     Answering Section IV, Paragraph 11 of the Complaint, Defendants state that the

allegations in Section IV, Paragraph 11 constitute legal conclusions and purported definitions

that require neither an admission nor denial.

       12.     Answering Section IV, Paragraph 12 of the Complaint, Defendants deny the

allegations contained therein.

                          V.      FACTUAL FLSA ALLEGATIONS

       13.     Answering Section V, Paragraph 13 of the Complaint, Defendants admit that they

have had business operations in Texas and their annual gross volume of sales, individually and

collectively, made or business done exceeds $500,000.00 per year at all times relevant to this

lawsuit.




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       14.      Answering Section V, Paragraph 14 of the Complaint, Defendants admit Plaintiff

Dominique Jewett worked as a Service Coordinator for Centene Company of Texas, L.P. within

the last three years, commencing in approximately June 2011. Defendants deny the remaining

allegations contained in Section V, Paragraph 14.

       15.      Answering Section V, Paragraph 15 of the Complaint, Defendants admit only that

Plaintiff worked as a Service Coordinator. Defendants deny the remaining allegations contained

in Section V, Paragraph 15.

       16.      Answering Section V, Paragraph 16 of the Complaint, Defendants deny the

allegations contained in Section V, Paragraph 16.

       17.      Answering Section V, Paragraph 17 of the Complaint, Defendants admit that

Plaintiff was paid on a salary basis with no overtime. Defendants aver that Plaintiff was not

entitled to overtime pay. Defendants deny the remaining allegations contained in Section V,

Paragraph 17.

       18.      Answering Section V, Paragraph 18 of the Complaint, Defendants admit Plaintiff

was classified as exempt from federal overtime laws. Defendants deny the remaining allegations

contained in Section V, Paragraph 18.

                      VI.     COLLECTIVE ACTION ALLEGATIONS

       19.      Answering Section VI, Paragraph 19 of the Complaint, Defendants state that the

allegations in Section VI, Paragraph 19 constitute legal conclusions and require neither an

admission nor denial. To the extent that an answer is required, Defendants admit only that

Plaintiff purports to assert an action on behalf of herself and “similarly situated” individuals.

Defendants deny that they engaged in any conduct that would subject them to liability or which

would entitle Plaintiff or any other individual to damages. Defendants further deny any claim or




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implication by Plaintiff that this action may be appropriately maintained as a collective action or

that there are others similarly situated to Plaintiff. Defendants deny all remaining allegations

contained in Section VI, Paragraph 19.

       20.     Answering Section VI, Paragraph 20 of the Complaint, Defendants state that the

allegations in Section VI, Paragraph 20 constitute legal conclusions and require neither an

admission nor denial. To the extent that an answer is required, Defendants admit only that

Plaintiff purports to assert an action on behalf of herself and “similarly situated” individuals.

Defendants deny that they engaged in any conduct that would subject them to liability or which

would entitle Plaintiff or any other individual to damages. Defendants further deny any claim or

implication by Plaintiff that this action may be appropriately maintained as a collective action or

that there are others similarly situated to Plaintiff. Defendants deny all remaining allegations

contained in Section VI, Paragraph 20.

       21.     Answering Section VI, Paragraph 21 of the Complaint, Defendants deny the

allegations therein.

                 VII. CAUSE OF ACTION: FAILURE TO PAY WAGES
             IN ACCORDANCE WITH THE FAIR LABOR STANDARDS ACT

       22.     Answering Section VII, Paragraph 22 of the Complaint, Defendants state that the

allegations in Section VII, Paragraph 22 constitute legal conclusions and require neither an

admission nor denial. To the extent that an answer is required, Defendants deny the allegations

contained therein.

                                    VIII. RELIEF SOUGHT

               Answering Section VIII of the complaint, Defendants deny that Plaintiff is

entitled to any of the relief requested in Section VIII or to any relief at all, from Defendants.




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                         AFFIRMATIVE AND OTHER DEFENSES

       Without admitting any allegations asserted in the Complaint, Defendants assert the

following affirmative and other defenses. Nothing stated in any of the following defenses

constitutes a concession that Defendants bear any burden of proof on any issue that they would

not otherwise bear such burden. Defendants further reserve the right to assert other affirmative

and additional defenses and/or otherwise to supplement this Answer upon discovery of facts or

evidence rendering such action appropriate.

                                       FIRST DEFENSE

       Plaintiff and/or the putative class members were compensated at all times in accordance

with applicable FLSA requirements.

                                      SECOND DEFENSE

       Plaintiff’s claims and/or those of some or all of the putative class members are barred, in

whole or in part, by the applicable limitations periods. To the extent that the period of time

alluded to in the Complaint, or the period of time alleged later in this action, predates the

limitations period set forth in Section 6(a) of the Portal-to-Portal Act, 29 U.S.C. § 255(a), such

claims of Plaintiff and/or those of the putative class members are barred.

                                       THIRD DEFENSE

       Plaintiff’s claims against Defendant Superior Healthplan, Inc. are barred because it did

not employ Plaintiff.

                                      FOURTH DEFENSE

       Plaintiff’s claims, including claims for attorneys’ fees, are barred, in whole or in part,

because she lacks standing to pursue those claims on behalf of herself and/or some or all of the




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putative class members, and she cannot adequately represent the interests of the putative class

members.

                                        FIFTH DEFENSE

        Plaintiff’s claims and/or those of some or all of the putative class members, including

claims for liquidated damages, are barred in whole or in part by the provisions of Section 10 and

11 of the Portal-to-Portal Act, 29 U.S. C. §§ 259 and 260, because actions taken in connection

with Plaintiff’s compensation and exempt status were done in good faith and in conformity with

and reliance upon written administrative regulations (specifically, but not limited to, 29 C.F.R. §

541.200 et seq., 541.300, 541.301, and 541.708), orders, rulings, approvals, interpretations, and

written and unwritten administrative practices of enforcement policies of the Administrator for

the Wage and Hour Division of the United States Department of Labor.

                                       SIXTH DEFENSE

        Plaintiff’s claims and/or those of the some or all of the putative class members are barred,

in whole or in part, because Defendants at all times acted in good faith to comply with the FLSA,

and had reasonable grounds for believing they were in compliance with the FLSA. Defendants

assert a lack of willfulness or intent to violate the FLSA as a defense to any claim for liquidated

damages made by Plaintiff or any of the putative class members. No act or omission of

Defendants which is alleged to violate the FLSA was willful, knowing, or in reckless disregard

for the provisions of the law, and Plaintiff and/or the putative class members therefore are not

entitled to any extension of the two-year non-willful statute of limitations period under the

FLSA.




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                                      SEVENTH DEFENSE

       In calculating overtime liability (if any), Defendants are entitled to exclude all elements

of Plaintiff’s compensation, and/or that of some or all of the putative class members, that are

excludable from an employee’s regular rate for purposes of calculating overtime, including but

not limited to, those elements that fall within Section 7(e) of the FLSA, 29 U.S.C. § 207(e), and

for all time spent on preliminary or postliminary activities excludable from hours worked under

29 U.S.C. § 254 and all other hours which do not constitute hours worked or compensable time

under the FLSA.

                                       EIGHTH DEFENSE

       Plaintiff’s claims are not entitled to collective action certification under 29 U.S.C. §

216(b) because Plaintiff is not similarly situated to the putative members of the proposed

collective class she purports to represent, and consideration of the exempt status of Plaintiff and

each putative member of Plaintiff’s proposed class will require an individual fact-specific inquiry

into the actual day-to-day duties and activities of each individual.

                                        NINTH DEFENSE

       Plaintiff’s claims, and/or those of some or all of the putative class members, are barred as

to all hours allegedly worked of which their employer lacked constructive or actual knowledge.

                                       TENTH DEFENSE

       Plaintiff’s claims, and/or those of some or all of the putative class members, are barred, in

whole or in part, to the extent that the work they performed falls within exemptions or exceptions

provided under the FLSA, including those exemptions contained in Section 13(a) and/or (b) of

the FLSA.




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                                    ELEVENTH DEFENSE

       Defendants are entitled to an offset against any damages awarded for amounts paid to

Plaintiff, and/or those of some or all of the putative class members, to which they were not

otherwise entitled, including but not limited to wage overpayments.

                                    TWELFTH DEFENSE

       Plaintiff’s claims and/or those of some or all of the putative class members are barred, in

whole or in part, under the de minimis doctrine and/or because the damages (if any) associated

with such claims are too speculative to be permitted.



       Defendants reserve the right to file such amended answers and defenses as may become

appropriate.

       WHEREFORE, Defendants respectfully pray that Plaintiff’s Complaint be denied in full

and that Defendants may have such other and further relief, both at law and in equity, as to which

they may be otherwise entitled.




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      Dated August 15, 2016             Respectfully submitted,



                                        /s/ Kimberly R. Miers
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on the 15th day of August, 2016, I electronically filed the foregoing
document with the clerk of court for the U.S. District Court, Northern District of Texas, Dallas
Division, using the electronic case filing system of the court. Participants in the case who are
registered CM/ECF users will be served by the CM/ECF system as follows:

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                                             /s/ Kimberly R. Miers
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